                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 1:12-cr-94
                                                        )
 v.                                                     )
                                                        )       MATTICE / LEE
 VICKI HARDIN                                           )

                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the eleven-count

 Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

 One, that is of conspiracy to manufacture and distribute five grams or more of methamphetamine

 (actual), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count

 One of the Indictment, that is of conspiracy to manufacture and distribute five grams or more of

 methamphetamine (actual), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

 841(a)(1), and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 165].

 Neither party filed a timely objection to the report and recommendation. After reviewing the record,

 the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 165] pursuant

 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

                is GRANTED;




Case 1:12-cr-00094-HSM-SKL            Document 172          Filed 07/22/13     Page 1 of 2       PageID
                                            #: 347
       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture and distribute five grams or more of

             methamphetamine (actual), a Schedule II controlled substance, in violation of 21

             U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture and distribute five grams or more

             of methamphetamine (actual), a Schedule II controlled substance, in violation of 21

             U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Monday, September 30, 2013 at 9:00 a.m. before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 1:12-cr-00094-HSM-SKL        Document 172        Filed 07/22/13      Page 2 of 2      PageID
                                        #: 348
